                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

    FARAH AWAD, ATA BOULES, NAGY                  )
    EILIA, and GAWHARA EILIA, on Behalf           )
    of THEMSELVES and All Others                  )       COLLECTIVE ACTION
    Similarly Situated,                           )
                                                  )       CIVIL ACTION
         Plaintiffs,                              )
                                                  )       CASE NO. 3:15-cv-00130
    v.                                            )
                                                  )       JUDGE SHARP
    TYSON FOODS, INC. and TYSON                   )       MAGISTRATE JUDGE NEWBERN
    FRESH MEATS, INC.,                            )
                                                  )
         Defendants.                              )

    PLAINTIFFS’ MEMORANDUM IN SUPPORT OF THEIR ATTORNEYS’ FEES AND
        EXPENSES, AND SERVICE PAYMENTS TO THE NAMED PLAINTIFFS

         Plaintiffs Farah Awad, Ata Boules, Nagy Eilia, and Gawhara Eilia (“Plaintiffs”), on

behalf of themselves and all others similarly situated, and Defendants Tyson Foods, Inc. and

Tyson Fresh Meats, Inc. (“Defendants”) have reached a comprehensive settlement in this Fair

Labor Standards Act (“FLSA”) case, subject to this Court’s approval. The parties have filed a

Joint Motion for Approval of their proposed Settlement Agreement (the “Agreement”)1 and a

supporting memorandum simultaneously herewith. Plaintiffs now file this separate memorandum

to demonstrate the reasonableness of the agreed-upon attorneys’ fees and expenses recovery, as

well as the reasonableness of the agreed upon service payments to each Named Plaintiff.

         As set forth in greater detail below, the agreement to pay fees, expenses and service

payments is fair and reasonable. Pursuant to the Agreement, Defendants have agreed to pay

$310,000 to resolve Plaintiffs’ claim for fees and expenses through the execution of the

Agreement. This amounts to approximately $280,000 to resolve Plaintiff’s claim for fees and

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         A copy of the Agreement is attached as Attachment 1 to the parties’ Joint Motion.



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approximately $30,000 for reimbursement of their expenses. The fee payment under the

Agreement represents approximately a twenty percent (20%) reduction from Plaintiff’s fees

through the execution of the Agreement. Also, Defendants have agreed to pay up to an additional

$30,000 for fees and expenses incurred as part of the post-settlement notice process, as explained

below.

         In total, the Agreement provides approximately $580,000 in FLSA damages for Plaintiffs

in this litigation. The Agreement provides for payment of $239,303.00 to Opt-In Plaintiffs who

joined this litigation by August 29, 2016. The agreement also provides approximately $340,000

for post-settlement Opt-In Plaintiffs, who will have the opportunity to join the settlement through

a post-settlement notice process.

         Similarly, the substantial investment of time and effort made by the Named Plaintiffs

justifies the payment of service payments in an amount of $10,000. Despite a substantial

language barrier, the Named Plaintiffs, who are Arabic speakers, met with their counsel

numerous times to advance this litigation to, inter alia, complete declarations, prepare for

depositions, discuss strategy, and negotiate the Agreement. Each sat for a translated deposition

that met or exceeded Rule 30(d)’s seven-hour limit. At a minimum, Plaintiffs’ counsel’s billing

records reflect that the Named Plaintiffs each invested dozens of hours in this case, although

these records do not capture all of the time or effort they invested in this case. These efforts

resulted in approximately twenty-five (25%) participation by potential Opt-In Plaintiffs without

even the benefit of written notice and a settlement that permits all potential 216(b) Opt-In

Plaintiffs to benefit from this case. In short, the service payments are reasonable and justified

based on the tireless efforts of the Named Plaintiffs.

I.       BACKGROUND

         Plaintiffs Awad, Boules, and Nagy Eilia brought this case against Defendants in February

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2015 as a putative collective action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b).2

Plaintiffs allege that they and similarly situated current and former production employees at

Defendants’ Goodlettsville, Tennessee facility are owed overtime wages because they were not

compensated for donning and doffing activities performed prior to the time when their paid shift

began and during their unpaid meal breaks. The parties have completed a substantial amount of

discovery and hotly contested numerous procedural and discovery issues, including two motions

for conditional certification and several motions related to the production of discovery.

Recognizing the risk, cost, and uncertainty associated with continuing to litigate Plaintiffs’

claims, the parties engaged in lengthy arm’s length negotiations over several months resulting in

the Agreement. Part of that Agreement is the payment of Plaintiffs’ attorneys’ fees and expenses

and service payments to the Named Plaintiffs by the Defendants.

        A.     The Efforts of Plaintiffs’ Counsel

        Plaintiffs’ counsel undertook the representation of the Plaintiffs’ in this case on a

contingency basis. See Declaration of David W. Garrison (“Garrison Decl.”) ¶ 19. As a result,

during the more than 18 months since this action was filed, Plaintiffs’ counsel has not received

any compensation for their attorneys’ fees and advanced expenses. Id. Through October 12,

2016, when the Agreement was executed, Plaintiffs’ counsel incurred more than $350,000 in

attorneys’ fees and more than $34,000 in expenses. Garrison Decl. ¶ 12. In short, Plaintiffs’

counsel has invested substantial time and resources to this litigation, and, as a result, achieved an

excellent outcome in the form of the parties’ Agreement. Id.

        As Lead Counsel for the Plaintiffs, undersigned counsel was responsible for assigning

work to attorneys and professional staff working on this case. Id. ¶¶ 1, 17. In assigning work, the

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      Plaintiffs filed an Amended Complaint adding Gawhara Eilia as a Named Plaintiff on
March 9, 2015.

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skills and experience of the attorneys and staff were taken into account and this matter was

staffed leanly with only the particular complement of lawyers and professional staff reasonably

necessary to serve the needs of the Plaintiffs and their claims. Id. ¶ 17. Similarly, undersigned

counsel ensured that the expenses incurred in this litigation were only those necessary to advance

the Plaintiffs’ claims in this litigation. Id. ¶ 18.

        Still, Plaintiffs’ counsel performed substantial work and incurred significant expenses, in

large part due to three factors: (1) Defendants have mounted a vigorous defense of this case on

various procedural and discovery issues; (2) throughout this case, it has been necessary to retain

the services of translators and interpreters to effectively communicate with Named and Opt-In

Plaintiffs verbally and in writing, the vast majority of whom do not speak or read English; and

(3) an analysis of large amounts of payroll and time and attendance data was necessary to value

Plaintiffs’ claims and reach the Agreement. Id. ¶ 20.

        The work performed by Plaintiffs’ counsel includes: (1) meeting with Plaintiffs to

prepare for litigation and to retain Named Plaintiffs; (2) thoroughly researching and investigating

the claims in this action, including detailed review of prior litigation challenging Defendants’

policies at the Goodlettsville, Tennessee facility, and interviewing the Named Plaintiffs to ensure

the Complaint was narrowly tailored; (3) conducting mass, half-day long meetings with hundreds

of potential and actual Opt-In Plaintiffs to ensure they were informed of their rights and to fully

investigate their claims; (4) fully briefing conditional certification twice; (5) drafting written

discovery requests and reviewing Defendants responses (including thousands of pages of

documents and working with a statistical expert to understand the payroll and time and

attendance data produced for hundreds of Plaintiffs); (6) assisting the Named Plaintiffs in

responding to 21 interrogatories and 27 requests for production of documents with the constant



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assistance of an Arabic interpreter and translator to conduct in person meetings and telephone

calls and to translate written responses; (7) fully briefing Defendants’ motion to compel

responses to these requests from all Opt-In Plaintiffs twice; (8) briefing multiple other discovery

and procedural disputes; (9) preparing for and defending the translated depositions of the four

Named Plaintiffs, which all reached or exceeded the seven-hour limit under Rule 30(d);

(10) leading the months-long negotiations resulting in the Agreement presently before the Court;

and (11) briefing the approval of the settlement in this matter. Id. ¶ 23.

        Approximately ninety percent (90%) of the Plaintiffs who joined this action, including

the Named Plaintiffs are not native speakers of English. Id. ¶¶ 18, 21. The vast majority of the

non-English speakers who joined are Arabic speakers, like the Named Plaintiffs. Id. ¶ 21. As a

result, virtually all interactions with the Named and Opt-In Plaintiffs related to this case—

whether verbal or written—took place through an interpreter. Id. ¶¶ 20-21, 35. This includes the

meetings and preparation of written translations related to the Named Plaintiffs’ declarations in

support of conditional certification, the responses of each Named Plaintiff to 48 detailed written

discovery requests, and the preparation for and giving of lengthy, translated depositions by all

four Named Plaintiffs. Id. ¶ 23. In short, ordinary aspects of the litigation process required

substantial investment of attorney time and resulted in significant expenses due to the high

percentage of Plaintiffs not fluent in English. Id. ¶ 22.

        Still, all of this work resulted in an excellent result, evident in the high participation rate

without formal written notice, a monetary recovery comparable to that in Abadeer v. Tyson

Foods, Inc., No. 3:09-cv-125 (M.D. Tenn.) (hereafter “Abadeer”), a virtually identical case,3 and




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      The basis for the amounts the Named and Opt-In Plaintiffs, as well as any individuals
who opt into this action pursuant to the post-settlement notice process will receive under the

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a post-settlement notice procedure that ensures hundreds more individuals are sent notice of their

right to participate in this settlement. Id. ¶¶ 8, 24-28.

        B.      The Efforts of the Named Plaintiffs

        Named Plaintiffs’ Farah Awad, Ata Boules, Nagy Eilia, and Gawhara Eilia have

remained exceptionally committed to advancing the FLSA claims in this action on behalf of

themselves and all others similarly situated. Id. ¶ 32. As a result of their efforts, hundreds of

eligible individuals joined this action, and hundreds more will have the opportunity to do so as

part of the post-settlement notice procedure pursuant to the parties’ Agreement. Id. ¶ 34. The

Named Plaintiffs have continuously demonstrated this commitment despite significant language

barriers and a lack of familiarity with the American legal system. Id. ¶ 32. In fact, three of the

Named Plaintiffs took on this responsibility against their current employer. Id.

        The Named Plaintiffs’ efforts in this case include, inter alia: (1) extensive outreach to

potential plaintiffs who did not resolve their claims in the Abadeer litigation, resulting in

hundreds of eligible individuals participating in this case; (2) attendance at numerous meetings

to, among other things, assist Plaintiffs’ counsel in investigating their claims and initiating this

lawsuit, discuss case strategy, complete declarations in support of conditional certification,

respond to 21 interrogatories and 27 requests for production of documents, prepare for

depositions, and negotiate the proposed settlement in the best interest of both the current Opt-In

Plaintiffs and the individuals eligible to participate via the post-settlement notice process;

(3) remaining in communication with Plaintiffs’ counsel despite the necessity of coordinating all

written and verbal communications through an Arabic translator/interpreter; and (4) each giving

lengthy, translated depositions that met or exceed Rule 30(d)’s seven-hour limit. Id. ¶ 33.


settlement is explained in detail in the Memorandum in Support of the Parties’ Joint Motion for
Joint Motion for Approval of Settlement Agreement.

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       Plaintiffs’ counsel’s billing records alone—which do not capture all of the Named

Plaintiffs’ efforts—reflect that each of the Named Plaintiffs spent at least the following working

on this case with their counsel: Farah Awad, approximately 30 hours; Ata Boules, approximately

35 hours; Nagy Eilia, approximately 31 hours; and Gawhara Eilia, approximately 27 hours. Id.

¶ 37. However, their most significant contribution—ensuring that hundreds similarly situated

workers learned of, and ultimately joined, this case, despite the fact that written notice was not

issued—is not reflected in these records. Id.

       C.      The Settlement

       While the parties’ Agreement contains several salient components (addressed in detail in

the parties Joint Motion and jointly-filed supporting memorandum), this memorandum addresses

Defendants’ agreement to pay a compromised amount for Plaintiffs’ attorneys’ fees and expenses

and to pay service payments to the Named Plaintiffs.

       Specifically, under the terms of the Agreement, Defendants have agreed to pay

$310,000.00 in settlement of Plaintiffs’ claims for fees and expenses incurred through the date

the Agreement was executed—October 12, 2016. Id. ¶ 10. This amounts to approximately

$280,000 for Plaintiffs’ attorneys fees and $30,000 for reimbursement of Plaintiffs’ expenses.

Additionally, Defendants have agreed to pay certain amounts in settlement of fees and expenses

incurred during the administration of the post-settlement notice process outlined briefly below.

Id. Specifically, Defendants are required to pay an additional $10,000.00 for fees and expenses if

participation in the post-settlement notice process exceeds each of twenty-five percent (25%),

thirty percent (30%), and thirty-five percent (35%), for a total of up to an additional $30,000.00

for fees and expenses. Id. These amounts reflect a reasonable fee for the amount of expected

work Plaintiffs’ counsel will be required to perform in the post-settlement notice process. Id.



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       In addition to the payment of fees, expenses, and service payments, the Agreement

includes three major components. Id. ¶ 8. First, Defendants agree to pay $239,303.00 to the

current Named and Opt-In Plaintiffs in settlement of their claims for unpaid overtime and

liquidated damages. Id. Second, Defendants have agreed to a post-settlement notice process that

will result in notice of the settlement to 757 additional similarly situated workers who are

eligible to participate in the settlement, but who have not joined this action. Id. Third,

Defendants have agreed to pay each post-settlement Opt-In Plaintiff the average weekly

recovery—$11.19—for each week he or she worked in an eligible position during the period

from May 19, 2013 through May 25, 2014. Id. Based on the information provided by

Defendants, full participation in the post-settlement notice process will result in a recovery of

approximately $340,000. Id. ¶ 24.

II.    ARGUMENT

       A.      Plaintiffs’ attorneys’ fees and expenses are reasonable.

       The agreed upon recovery of Plaintiffs’ attorneys’ fees and expenses represents a

significant reduction to Plaintiff’s counsel’s lodestar. As part of the Agreement, Defendants have

agreed to pay $310,000.00 for Plaintiffs’ attorneys’ fees and expenses incurred up to the date the

Agreement was executed, and up to $30,000 in settlement of claims for fees and expenses arising

out of the post-settlement notice process.

       The FLSA has a fee-shifting provision that provides that a prevailing plaintiff shall

recover reasonable attorneys’ fees and litigation costs. 29 U.S.C. § 216(b). “Indeed, an ‘award of

attorneys’ fees under the FLSA is mandatory . . . .’” Thompson v. United Stone, LLC, No. 1:14-

cv-224, 2015 WL 867988, at *2 (citations omitted). “[T]he purpose of the FLSA attorney fees

provision is ‘to insure effective access to the judicial process by providing attorney fees for

prevailing plaintiffs with wage and hour grievances.’” Fegley v. Higgins, 19 F.3d 1126, 1134

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(6th Cir. 1994) (quoting United Slate, Tile & Composition Roofers, Damp and Waterproof

Workers Ass’n, Local 307 v. G & M Roofing and Sheet Metal Co., 732 F.2d 495, 501 (6th

Cir.1984)).

       The starting point in calculating a “reasonable” attorney fee is typically the determination

of the fee applicant’s “lodestar,” which is the proven number of hours reasonably expended on

the case by an attorney, multiplied by his court-ascertained reasonable hourly rate. Adcock-Ladd

v. Sec’y of Treasury, 227 F.3d 343, 349 (6th Cir. 2000) (citing Hensley v. Eckerhart, 461 U.S.

424, 437 (1983)). Here, Plaintiff’s counsel’s actual fees through the execution of this Agreement,

based on the number of hours expended multiplied by the attorneys’ regularly hourly billing rates

is more than $350,000. Garrison Decl. ¶ 12. Plaintiffs have also incurred expenses totaling more

than $34,000 through the execution of the Agreement. Id. Under the Agreement, however,

Defendants are required to pay $310,000—which amounts to approximately $280,000 for fees

and $30,000 for expenses. Id. at ¶ 16 This fee payment actually represents a reduction of nearly

twenty percent (20%) of the lodestar Plaintiff’s counsel accrued through the execution of the

Agreement. Id. Even including the up-to $30,000.00 to be paid for fees and expenses related to

the post-settlement notice procedure, the total fees and expenses represents a reduction from

Plaintiffs’ counsel’s lodestar and expenses. This reduction confirms that the agreed upon

payment of fees and expenses does “not produce [a] windfall[]” to Plaintiff’s counsel and

confirms its reasonableness. Blum v. Stenson, 465 U.S. 886, 897 (1984) (citations omitted).

       By comparison, the Agreement provides up to approximately $580,000 in total FLSA

damages to Plaintiffs—approximately $240,000 to the Named and Current Opt-In Plaintiffs and

more than $340,000 if there is full participation in the post-settlement notice process. Garrison

Decl. ¶¶ 8, 24. Thus, FLSA damages in this case are substantial relative to Plaintiffs’ counsel’s



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fee recovery. Still, the Sixth Circuit has held that “[c]ourts should not place an undue emphasis

on the amount of the plaintiff’s recovery” because recovery of attorneys’ fees under the FLSA

“encourage[s] the vindication of congressionally identified policies and rights.” Fegley, 19 F.3d

at 1134-35 (citation omitted). In fact, the Sixth Circuit has “upheld substantial awards of

attorney’s fees even though a plaintiff recovered only nominal damages.” Id. (citation omitted);4

see also Williams v. Hooah Sec. Servs. LLC, No. 09-2376-STA-TMP, 2012 WL 1022187, at *2

(W.D. Tenn. Mar. 26, 2012) (holding that “amount of attorney’s fees may exceed the amount of

damages awarded to plaintiffs given the nature and purpose of the FLSA”) (quoting Fegley, 19

F.3d at 1134-35). Thus, the relative size of the fee payment and the FLSA damages recovery

support approval of the Agreement. This is especially true, given that current and post-settlement

Plaintiffs will recover an amount commensurate to that recovered by similarly situated workers

as part of the Abadeer FLSA settlement, while Plaintiff’s Counsel is significantly compromising

on their fees. Garrison Decl. ¶¶ 16, 28.

        In short, there is “a strong presumption” that the lodestar represents a reasonable fee,

McCutcheon v. Finkelstein Kern Steinberg & Cunningham, No. 3-11-cv-0696, 2013 WL

4521016, at *1 (M.D. Tenn. Aug. 27, 2013) (Sharp, J.) (citation omitted), and an even stronger

presumption exists where, as here, the agreed upon fee is below the lodestar amount.

        Furthermore, Plaintiffs’ counsel’s hourly rates and hours expended in this case are

reasonable. Whether an hourly rate is reasonable should be considered with reference to “the

prevailing market rates in the relevant community.” Blum v. Stenson, 465 U.S. 886, 895 (1984);

see also Monroe v. FTS USA, LLC, No. 2:08-cv-2100, 2014 WL 4472720 at *9 (W.D. Tenn. July

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       See also, e.g., Posner v. Showroom, Inc., 762 F.2d 1010 (6th Cir. 1985) (awarding
attorney’s fees amounting to nearly five times the underlying judgment); Lakosky v. Disc. Tire
Co., No. 14-13362, 2015 WL 4617186, at *2 (E.D. Mich. July 31, 2015) (finding settlement fair
and reasonable where attorneys’ fees exceeded plaintiff’s recovery).

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28, 2014) (noting, in the FLSA context, that an attorney’s reasonable hourly rate should begin

with an assessment of the “prevailing market rate”).

       When the litigation spans several years, the appropriate rate is each attorney’s current

hourly rate at the time of the fee petition, rather than the attorneys’ historic hourly rates, as rates

naturally increase over the course of the litigation. See Missouri v. Jenkins by Agyei, 491 U.S.

274, 283-84 (1989) (recognizing that “compensation received several years after the services

were rendered . . . is not equivalent to the same dollar amount received reasonably promptly as

the legal services are performed,” and therefore holding that “an appropriate adjustment for delay

in payment—whether by the application of current rather than historic hourly rates or

otherwise—is within the contemplation of [section 1988]”); see also Barnes v. City of

Cincinnati, 401 F.3d 729, 745 (6th Cir. 2005); Renfro v. Indiana Michigan Power Co., No. 1:99-

cv-877, 2007 WL 541961 (W.D. Mich. Feb. 16, 2007) (applying current rather than historic rates

in an FLSA case), judgment vacated on other grounds in 497 F.3d 573 (6th Cir. 2007). This

requirement simply reflects the dual realities of inflation and the time value of money.

       The hourly rates billed by each of the attorneys who worked on this case and for whom

compensation is sought (as well as the number of hours expended on the case) are reflected in

the declaration of undersigned counsel. Garrison Decl. ¶ 13. The hourly rates for each attorney

are in line with the rates in the Nashville legal community “for similar services by lawyers of

reasonably comparable skill, experience, and reputation.” Missouri, 491 U.S. at 286; see also

Garrison Decl. ¶ 14. In fact, Plaintiffs’ counsel billed the same rates in this litigation as they did

in an FLSA case where this Court approved a settlement where fees were paid based on a

lodestar calculated using these rates. See FLSA and Final Approval Order, Noel v. Metropolitan

Gov’t of Nashville and Davidson County, Tenn., No. 3:11-cv-519 (M.D. Tenn.) (Sharp, J.) (Doc.



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Nos. 488 and 489) (attached as collective Exhibit A); see also Garrison Decl. ¶¶ 13, 14. These

hourly rates are:

                    Attorney / Staff Member        Hourly Rate
                    David W. Garrison              $425 per hour
                    Scott P. Tift                  $325 per hour
                    Seth M. Hyatt                  $280 per hour
                    Joshua A. Frank                $225 per hour
                    Paralegals                     $150 per hour

       Well-respected Nashville lawyers Mike Hamilton and Michael Russell, who have a great

deal of experience in FLSA collective action litigation, have averred that these hourly rates for

the attorneys and staff of Barrett Johnston Martin & Garrison, LLC are within the market rates in

Nashville for similarly qualified, experienced attorneys and staff for similar work. See

Declaration of Mike Hamilton (“Hamilton Decl.”) ¶¶ 5, 8-11; Declaration of Michael Russell

(“Russell Decl.”) ¶¶ 8-11; see also Garrison Decl. ¶ 15.

       Mr. Hamilton, who has handled complex litigation and labor matters, including FLSA

collective action litigation, for nearly 40 years, notes that he considers Plaintiff’s counsel “to be

of the highest caliber in this field nationally and among the highest caliber of litigators in

Nashville.” Hamilton Decl. ¶ 9. Mr. Hamilton notes that he is familiar with several of the

lawyers at Barrett Johnston Martin & Garrison, LLC, and believes that their hourly rates are

“reasonable and in line with rates charged by other comparable attorney’s in the Nashville legal

market.” Id. ¶ 11.

       Michael Russell devotes his practices almost exclusively to labor and employment law,

and has served as lead trial attorney in two FLSA jury trials and one FLSA bench trial in the last

five years. Russell Decl. ¶¶ 5, 9. Mr. Russell also reviewed Plaintiff’s counsel’s billing records

and opined that “the rates charged by the firm for this matter are reasonable hourly rates and are

within the range of hourly rates that have been approved by courts for other lawyers with

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comparable experience.” Id. ¶ 11. Moreover, Mr. Russell explained that “these rates are

reasonable considering the complicated nature of class action litigation, which requires a higher

level of expertise than more routine civil litigation.” Id.

       As the Supreme Court has held, “there is a ‘strong presumption’ that the lodestar figure is

reasonable[.]” Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 554 (2010); see also Pennsylvania

v. Delaware Valley Citizens’ Council for Clean Air, 478 U.S. 546, 565 (1986), supplemented,

483 U.S. 711 (1987) (“A strong presumption that the lodestar figure—the product of reasonable

hours times a reasonable rate—represents a ‘reasonable’ fee is wholly consistent with the

rationale behind the usual fee-shifting statute . . . .”); McCutcheon, 2013 WL 4521016, at *1

(citation omitted) (“[T]here is “a ‘strong presumption’ that the lodestar ‘represents a reasonable

fee.’”); Mathis v. Wayne Cty. Bd. of Educ., No. 1:09-cv-0034, 2011 WL 3320966, at *8 (M.D.

Tenn. Aug. 2, 2011) (Trauger, J), aff’d, 496 F. App’x 513 (6th Cir. 2012) (“If the requested fee is

essentially in line with the ‘lodestar,’ then there is a strong presumption that the requested fee is

reasonable and recoverable.”) (footnote omitted); c.f. Adcock-Ladd, 227 F.3d at 351(“[A] trial

judge’s ‘discomfort’ with the total amount of the supported reasonable lodestar fee earned by the

subject lawyer comprises a legally insufficient rationale for the reduction of that fee.”).

       Accordingly, this strong presumption that the lodestar represents a reasonable fee,

coupled with the fact that the agreed upon fee of $280,000.00 for work performed through the

execution of the Agreement represents a reduction of approximately twenty percent (20%) of

Plaintiff’s counsel’s lodestar based largely on rates recently approved by this Court,

overwhelmingly confirms the reasonableness of the agreed upon fee. See, e.g., Williams v.

Bevill, No. 4:14-cv-82, 2016 WL 773230, at *2 (E.D. Tenn. Feb. 8, 2016), report and

recommendation adopted, No. 4:14-cv-82, 2016 WL 792417 (E.D. Tenn. Feb. 29, 2016) (FLSA



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fee reasonable where “the attorneys represent[ed] that they have reduced their fees in order to

effect settlement.”); Thompson, 2015 WL 867988, at *2 (FLSA fee reasonable where based on

reduced loadstar); Kritzer v. Safelite Solutions, LLC, No. 2:10-cv-729, 2012 WL 1945144, at *10

(where the fee sought is less than lodestar calculation it “strongly favors the fee requested by

Plaintiffs’ counsel.”); Gentrup v. Renovo Servs., LLC, No. 1:07-cv-430, 2011 WL 2532922, at *4

(approving fee as part of FLSA settlement where “Plaintiffs’ counsel will be paid significantly

less than the lodestar amount in this case.”).

       Therefore, Plaintiff’s Counsel respectfully submits the proposed fee and expense

recovery is fair and reasonable and should be approved.

       B.      The agreed upon service payments for the Named Plaintiffs are reasonable
               and should be approved by the Court.

       Pursuant to the parties’ Agreement, Defendants have agreed to pay the Named Plaintiffs

service payments of up to $10,000.00 each (or a total of $40,000.00). As set forth in more detail

below, these service payments are intended to compensate the Named Plaintiffs for the work

they rendered on behalf of the Opt-In Plaintiff class, the risks they bore, and the opportunities

they sacrificed to ensure a favorable result. As detailed in the contemporaneously filed

declaration of undersigned counsel, each of these Named Plaintiffs spent significant time and

energy to ensure the success of this action. Garrison Decl. ¶¶ 31-37.

       As set forth in detail above, the Named Plaintiffs have been actively involved in this

litigation since its inception. The Named Plaintiffs have devoted substantial time and effort to

this litigation despite the enormous language barrier they faced and their lack of familiarity with

the American legal system. Id. ¶ 32. The $10,000 service payments are well-tailored to the risks

and efforts the Named Plaintiffs have undertaken in advancing this action against their




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employer,5 and it does not represent unfair or preferential treatment. In fact, the Named Plaintiffs

shouldered a tremendous burden in their efforts to advance this case on behalf of similarly

situated current and former employees of Defendants. Id. ¶¶ 32-37. As a result, the increased

burden the Named Plaintiffs faced spared these similarly situated employees from facing a

similar burden to proceed on their own behalves in separate actions. Id. ¶ 36.

        This burden did not prevent the Named Plaintiffs from tirelessly advancing this case. Id.

¶¶ 31-37. Their efforts have been instrumental in achieving the outstanding result the Agreement

represents, and have not abated since the inception of this case. Id. As set forth in detail above,

the Named Plaintiffs’ service in this case includes, but is not limited to: (1) extensive outreach to

potential plaintiffs, resulting in hundreds of eligible individuals participating in this case;

(2) attendance at numerous meetings with their counsel related to, among other things,

investigating their claims, case strategy, completing declarations in support of conditional

certification, responding to 48 detailed written discovery requests, preparing for depositions, and

negotiating the Agreement; (3) regular communication with Plaintiffs’ counsel despite the

necessity of communicating through an Arabic translator/interpreter; and (4) giving lengthy,

translated depositions. Id. ¶ 33. In all, Plaintiffs’ counsel’s billing records reflect that each of the

Named Plaintiffs spent at least the following working on this case with their counsel: Farah

Awad, approximately 30 hours; Ata Boules, approximately 35 hours; Nagy Eilia, approximately



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         Named Plaintiffs Ata Boules, Nagy Eilia, and Gawhara Eilia are current employees of
Defendants. Id. ¶ 32. Indeed, courts have noted that “such awards are particularly appropriate in
the employment context” given the risk “of adverse actions by the employer or co-workers.”
Frank v. Eastman Kodak Co., 228 F.R.D. 174, 187-188 (W.D.N.Y. 2005). That is particularly
true under the facts of this case, where three of the Named Plaintiffs have worked with and
regularly interacted with both Opt-In Plaintiffs and Defendants’ managers in the regular course
of their duties during the entire time this action was pending. While Named Plaintiffs do not
assert that they suffered any retaliatory treatment, the risk they ran in leading this lawsuit was not
trivial and it more than warrants the agreed upon service payments.

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31 hours; and Gawhara Eilia, approximately 27 hours.6 Id. ¶ 37. Of course, this does not include

the time they spent making their most significant contribution to this case—namely, ensuring

that hundreds of similarly situated workers joined this case without the benefit of receiving

Court-supervised notice. Id.

        In addition to being warranted by the substantial efforts of the Named Plaintiffs, the

agreed upon service payments are in line with those approved by this Court and other district

Courts within the Sixth Circuit. See, e.g., FLSA and Final Approval Order at 2, Noel v.

Metropolitan Gov’t of Nashville and Davidson County, Tenn., No. 3:11-cv-519 (M.D. Tenn.)

(Sharp, J.) (Exhibit A); Final Approval Order at 1, Abadeer v. Tyson Foods, Inc., No. 3:09-cv-

00125, (M.D. Tenn. Oct. 17, 2014) (Doc. No. 420) (Sharp, J.) (approving service payments of up

to $11,500.00) (citing to Exhibit 2 of Settlement Agreement, DE 411.1 at 57) (attached as

Exhibit B); Order & Final Judgment at 4, Carroll v. Guardian Home Care Holdings, Inc., No.

3:14-cv-01722 (M.D. Tenn. Aug. 31, 2015) (Doc. No. 68) (Haynes, J.) (approving service

payment of $10,000.00 to named plaintiff) (attached as Exhibit C); Johnson v. Midwest

Logistics Sys., Ltd., No. 2:11-cv-1061, 2013 WL 2295880, at *5 (S.D. Ohio May 24, 2013)

(approving service payment of $12,500 to the named plaintiff in FCRA case where class

members received either $260 or 1,000 each, finding “that the incentive award does not

undermine the fairness of the settlement”); Dallas v. Alcatel-Lucent USA, Inc., No. 09-14596,

2013 WL 2197624, at *11 (E.D. Mich. May 20, 2013) ) (incentive payments justified where


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         Recently, the Sixth Circuit suggested that in petitioning for service payments plaintiffs’
counsel should provide evidence through their billing records of the time spent by each recipient
of a service payment. Shane Grp., Inc. v. Blue Cross Blue Shield of Michigan, 825 F.3d 299, 311
(6th Cir. 2016). Accordingly, Plaintiffs’ counsel have offered a declaration noting the time spent
by each Named Plaintiff, as reflected in their billing records. Id. ¶ 37. Of course, this recorded
time does not account for all the time spent by these individuals in the advancement of this
litigation. Id.


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plaintiffs “responded to discovery requests, including document productions; participated in

many conferences with Plaintiffs’ counsel; and took the risk of joining this litigation at an early

stage”); Brent v. Midland Funding, LLC, 2011 WL 3862363, at *15 (N.D. Ohio Sept. 1, 2011)

(finding incentive payments justified). This is consistent with the practices of district courts

outside of the Sixth Circuit as well. See, e.g., Camp v. Progressive Corp., No. 01-2680, 2004 WL

2149079, at *7 (E.D. La. Sept. 23, 2004) (approving service payment of $10,000 to named

plaintiff and payments ranging from $1,000 to $2,500 to other FLSA collective action members

who assisted in the litigation).

       In short, the substantial efforts of the Named Plaintiffs and the excellent outcome

achieved as a result of those efforts, justifies service payments in the amount of $10,000 to each

Named Plaintiff.

III.   CONCLUSION

       For the reasons stated above, Plaintiffs submit that the Court should approve all aspects

of the Agreement, including the agreed upon payment of attorneys’ fees and expenses as well as

the agreed upon service payments to each of the four Named Plaintiffs, and enter the proposed

order attached to the parties’ Joint Motion.

Dated: October 13, 2016                        Respectfully submitted,
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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of this Plaintiffs’ Memorandum in Support of their Attorneys’
Fees, Expenses, and Service Payments to the Named Plaintiffs was filed electronically with the
Clerk’s office by using the CM/ECF system and served electronically upon the parties as
indicated below through the Court’s ECF system on October 13, 2016:

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